          Case 1:21-cr-00157-TNM Document 31 Filed 11/29/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :        CASE NO. 21-cr-157 (TNM)
               v.                             :
                                              :
CHRISTIAN SECOR,                              :
                                              :
                        Defendant.            :


                    JOINT PROPOSED TRIAL AND BRIEFING SCHEDULE

       The United States of America and defendant Christian Secor, by and through his counsel,

respectfully propose the following schedule for the continued trial in the above-captioned matter.

       The parties jointly moved on November 22, 2021 to continue the trial date currently set for

January 18, 2022. ECF No. 30. The parties now seek to begin the trial on June 8, 2022, June 15,

2022, or June 20, 2022, at the Court’s availability.

       The parties request the following briefing schedule in light of those requested trial dates:

                     1. Motions in Limine and Motions to Suppress due by April 18, 2022;

                     2. Expert Notices due by April 18, 2022;

                     3. Oppositions due by May 2, 2022;

                     4. Replies due by May 16, 2022;

                     5. Joint Proposed Voir Dire and Joint Proposed Final Jury Instructions due by

           May 23, 2022;

                     6. Pretrial Conference and Motion Hearing set for one week before start of

           trial.




                                                  1
         Case 1:21-cr-00157-TNM Document 31 Filed 11/29/21 Page 2 of 2




       WHEREFORE, the parties respectfully request a pretrial order reflecting the schedule

described above.


                                         Respectfully submitted,

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                                         BY:        /s/
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